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                                UNITED STATES DISTRICT COURT
                                                 for the
                               WESTERN DISTRICT OF NEW YORK



JUAN A. LABOY,                                   )
                                                 )
                        Plaintiff,               )
                                                 )
        vs.                                      )
                                                 )
 ONTARIO COUNTY, NEW YORK,                       )               Civil Action #: 14-CV-6086
                                                 )
                        Defendant.               )



                                      AMENDED COMPLAINT
                                       (Jury Trial Requested)



        NOW, comes the Plaintiff, complaining of the above-named defendants by his attorney,

David M . Abbatoy, Jr., Esq., and alleges as follows:

                                              I.PARTIES

        1.      The plaintiff,Juan A. Laboy, is a natural person and a citizen of the United States

and currently resides in Ontario County, New York.

        2.      Defendant Ontario County, New York (hereinafter "Defendant County") is a public

municipal entity with its principal offices located in Canandaigua, New York.

        3.      Office of Sheriff, County of Ontario (hereinafter "Sheriffs Office") is the professional

municipal police organization of the Defendant County. It is authorized and required to enforce

state laws and to abide by the dictates of the state and federal constitutions.




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        4.      Defendant County is also the employer of the individual defendants from the

Sheriffs Office named herein and is a proper entity to be sued under 42 USC§ 1983.

        5.      Defendant County is the legal entity responsible for itself and the Sheriffs Office.

        6.      At all times relevant, Sheriff Paul C. Provero was a citizen of the United States and

resident of the State of New York. Sheriff Provero is head of the Sheriffs Office, employed by the

Defendant County, and was acting under color of state law at all times relevant herein.

        7.      As the head of the Sheriffs Office, Sheriff Provero both exercised and delegated his

municipal final decision-making power to other individuals and deputies within the Sheriffs Office.

        8.      Upon information and belief, Sheriff Provero (together with other subordinates

unknown to plaintiff at this time) also trained and supervised the deputies named in this complaint.

        9.      At all times relevant, Deputy Rebecca Edington was a citizen of the United States

and a resident of the State of New York and was acting under color of state law in her capacity as a

law enforcement officer employed by the Sheriffs Office. :-

        10.     At all times relevant, Deputy Na than Bowerman was a citizen of the United States

and a resident of the State of New York and was acting under color of state law in his capacity as a

law enforcement officer employed by the Sheriffs Office.

        11.     At all times relevant, Deputy Patrick Fitzgerald was a citizen of the United States

and a resident of the State of New York and was acting under color of state law in his capacity as a

law enforcement officer employed by the Sheriffs Office.

        12.     Defendant County, the Sheriffs Office, and Sheriff Provero are properly sued under

42 USC§ 1983 for their delegated deliberately indifferent unconstitutional decisions, policies,

practice, habits, customs, usages, training and derelict supervision, ratification, acquiescence and



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intentional failures which were the moving forces in the complained of constitutional violations

and resulting injuries.

                                  II. JURISDICTION AND VENUE

         13.    This Court has jurisdiction over this action pursuant to 28 USC§§ 1331, 1341 &

1343 because it is filed to obtain compensatory for the deprivation, under color of state law, of the

right of a citizen of the United States secured by the federal constitution and federal law pursuant to

42 USC§§ 1981 and 1983.

         14.    Jurisdiction supporting plaintiffs request for attorney's fees is conferred by 42 USC§

1988.

         15.    Venue is established pursuant to 28 USC § 1391 by the residence of the parties and

because the events giving rise to plaintiffs claims occurred in this judicial district.




                                   III. FACTUAL BACKGROUND

         16.    On August 1, 2010 at approximately 11:15 am, the Sheriffs Office received a request

to respond to 2171 State Route 14 in the Town of Phelps to take a report regarding "family issues".

         17.    At all time relevant herein, 2171 State Route 14 was plaintiffs home.

         18.    At that time a sheriffs deputy took a written complaint fromJomaira Rojas for

Harassment in the Second Degree, a non-criminal violation-level offense in the State of New York

(see Penal Law§ 240.26).

         19.    Ms. Rojas spoke no English. She communicated to the police exclusively through an

interpreter.




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        20.       Ms. Rojas accused her common-law husband, the plaintiff Mr. Laboy, of pushing

her during an argument.

        21.       Ms. Rojas gave a verbal statement to the responding officers who, through a

translator, reduced the complaint to writing.

        22.       Mr. Laboy was not present when the police took the written complaint, but the

police asked Ms. Rojas to contact the police ifhe came home again.

        23.       Pursuant to the New Yark Criminal Procedure Law, the police are not authorized to

arrest a person for a violation-level offense that did not take place in the officer's presence (CPL§

140.10[1] [a]).

        24.       However, no one ever obtained a warrant for Mr. Laboy's arrest.

        25.       Hours later, at the beginning of her shift, Deputy Edington learned from her

superiors during roll-call that there had been "possible family trouble" and a "verbal altercation" at

Mr. Laboy's residence earlier in the day and that she might have to respond to the residence later

that night.

        26.       Although Deputy Edington had not seen the signed harassment complaint, even

before her encounter with Mr. Laboy later in the day, she "knew that there was going to be an arrest

for a violation at the least".

        27.       She was told by her superiors and others within the Sheriffs Office "that we had a

signed information for a harassment violation arrest, and to be aware there was another deputy that

had the information in their vehicle".

        28.       At approximately 6:45pm, Deputy Edington was dispatched to 2171 State Route 14

(Mr. Laboy's home), where Ms. Rojas had given the statement earlier in the day.



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        29.    At the time of the dispatch, and at all other relevant times, Deputy Edington was

aware that 2171 State Route 14 was Mr. Laboy's home.

        30.    Deputy Edington put on her overhead lights and sirens and rushed to the residence.

        31.    Deputies Bowerman and Fitzgerald were also dispatched to the scene and they

arrived in cars separate from Deputy Edington.

        32.    Deputy Edington could hear their sirens when she approached the destination.

        33.    When Deputy Edington arrived, Ms. Rojas was standing outside of the residence.

        34.    Deputy Edington tried to communicate with Ms. Rojas, but she did not speak any

English and Deputy Edington did not speak any Spanish.

       35.     Deputy Edington was asking Ms. Rojas if Mr. Laboy was inside, whether he had hit

her, whether there were any weapons, or whether Ms. Rojas had any injuries, but Ms. Rojas was

unable to answer any of Deputy Edington's questions.

       36.     As a result, Deputy Edington and Ms. Rojas were completely unable to communicate

with each other.

       37.         Having failed to ascertain any evidence about alleged criminal activity, Deputy

Edington then attempted to gain entry to the house.

       38.     At the time of the attempted entry, Deputy Edington had no rational basis to believe

that Ms. Rojas had authority to grant access to the home.

       39.     Deputy Edington made no attempts to verify that Ms. Rojas had authority to grant

access to the home.

       40.     At the time of the attempted entry, Deputy Edington had no rational basis to believe

that Ms. Rojas had authority to permit the police to arrest Mr. Laboy within his home.



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        41.      At the time of the attempted entry, Deputy Edington had not attempted to gain Ms.

Rojas' consent to enter the residence, nor could she have done so because of the language barrier

between the two people.

        42.      At the time of the attempted entry, there was no rational basis to ask for Ms. Rojas'

consent to enter the residence.

       43.       At the time of the attempted entry, Ms. Rojas no one had explained to Ms. Rojas

that she was not required to permit entry into the home, nor was she provided with a written

waiver explaining the same.

        44.      At the time of the attempted entry, Deputy Edington had no rational basis to believe

that an emergency situation or hot pursuit required her immediate entry into the home.

        45.      Again, although Ms. Rojas could not speak any English, Deputy Edington asked her

to open the door to the house.

        46.      Ms. Rojas complied with the deputy's order and unlocked the two doors leading into

the residence.

       47.       When Deputy Edington entered the residence, she drew her .40 caliber handgun

from its holster and began to yell for Mr. Laboy to come out because he was under arrest.

       48.       At that time, Mr. Laboy was asleep in his bed, having went to bed early to rest

himself for his early-morning job as a bricklayer.

       49.       After announcing herself five times, the deputy alleged that she received the

response "fuck you" from the back of the home.

       50.       This response of"fuck you" constituted a revocation of whatever possible

permission Deputy Edington had to be inside of the residence.



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        51.      Instead ofleaving the home, Deputy Edington put her finger on the trigger of her

weapon, approached the bedroom, and kicked open the door.

        52.      At the trial that would ultimately result from Mr. Laboy's forthcoming arrest,

Deputy Edington explained her decision to take this course of action as follows:

                "I was already engaged with the investigation. I knew that he was now inside, after
                he acknowledged that he was inside and I heard him. He's behind closed doors. It's
                officer safety. I'm not going to withdraw and leave the house and wait for backup to
                come 'cause I don't know what weapons he has. I didn't know ifhe had a gun in
                back. I didn't know if he was waiting right inside that door for me. So without
                knowing that, if here was going to be an ambush situation, I proceeded down
                towards the bedroom to make eye contact with the suspect".

        53.     Deputy Edington entered the bedroom and, with her finger still on the trigger of her

weapon, pointed it at Mr. Laboy, who was lying in his bed.

        54.     Deputy Edington ordered Mr. Laboy to stand up because he was under arrest.

        55.     Mr. Laboy complied with the request, stood up, put his hands behind his back, and

said to the deputy "point [the gun] away from me or I will take it", but made no physical threats

against the officer.

        56.     When the deputy saw that Mr. Laboy was wearing only his underwear (and was

clearly unarmed), she holstered her gun and took out her taser, pointing it at Mr. Laboy.

        57.     Mr. Laboy complied in allowing his hands to be cuffed behind his back, but when he

did so, the deputy slammed him against the wall repeatedly.

        58.     Mr. Laboy fell onto the ground and the deputy picked him up by his arm,

performing what she referred to as an "iron wrist drag".

        59.     The pressure on Mr. Laboy's wrists causes scrapes, bruising, and swelling.

        60.     Deputy Edington employed repeated "knee strikes" against Mr. Laboy's legs.


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        61.     The deputy employed a pressure tactic known as a "mandibular angle", pressing her

hand against Mr. Laboy's head, neck, and throat to control his body, all while he was still

handcuffed.

        62.     The deputy repeatedly pushed Mr. Laboy against the wall. On one occasion, Mr.

Laboy's face hit a nail that was protruding from the wall causing a gash on his face and also causing

his head to jerk back, striking the deputy in the nose.

        63.     After having been struck in the nose, the deputy turned Mr. Laboy's body around,

kicked him in the groin and pushed him onto the bed.

        64.     Then, Deputy Edington dragged him off of the bed by the handcuffs and kneeled on

his back until Deputies Bowerman and Fitzgerald arrived.

        65.     Deputies Bowerman and Fitzgerald took physical custody of Mr. Laboy and locked

him in the backseat of their police cruiser for transport.

        66.     The deputies refused Mr. Laboy's request to put on his pants before being taken

outside. Instead, they brought him outside handcuffed and in his underwear.

        67.     While Mr. Laboy was seated in the backseat of the police cruiser, Deputy Edington

approached him, gave him the middle finger, and shouted "fuck you" at him.

        68.     Upon information and belief, thereafter, Deputies Edington, Bowerman, and

Fitzgerald completed official accusatory paperwork and criminal complaints and gave sworn

testimony against Mr. Laboy on several occasions accusing him of the following crimes:

                    > Assault in the Second Degree (Penal Law§ 120.05[3]);

                    )>   Obstructing Governmental Administration in the Second Degree (Penal Law

                         § 195.05); and



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                     > Resisting Arrest (Penal Law§ 205.30).

        69.     With the full cooperation and involvement of the deputies (principally Deputy

Edington) Mr. Laboy was ultimately indicted and tried in Ontario County for these alleged crimes.

        70.     Ontario County Indictment # 10-07-152 accused Mr. Laboy of "forcibly resisting his

lawful arrest for Harassment in the Second Degree".

        71.     Mr. Laboy was not charged with harassment or any other offense.

        72.     There was not probable cause to believe that Mr. Laboy had committed any other

state or federal crime at the time of his arrest.

        73.     Each of the crimes that the deputies accused Mr. Laboy of required proof that the

officers were attempting to execute a lawful arrest.

        74.     The deputies made these accusations knowing that they were not engaged in a

lawful arrest of Mr. Laboy for a violation level-offense.

        75.     The deputies knew that the complaint was only for a violation-level offense not

committed in their presence and that they were not authorized to arrest plaintiff.

        76.     Deputy Edington made up her mind that she was going to arrest Mr. Laboy long

before she even entered the home because she believed, "( w] e already had a signed information so,

regardless, he was going to be arrested".

       77.      The deputies knew that even if there was probable cause to believe Mr. Laboy had

committed a crime (and not a non-criminal violation) they did not have a warrant to arrest Mr.

Laboy in his home, as was otherwise required by the federal constitution.




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         78.    It is part of the policy and practice of the Sheriffs Office and the named defendants

to effectuate arrests for violations that were not committed in their presence and without probable

cause.

         79.    Indeed, Deputy Edington conceded in her sworn trial testimony that such arrests are

a common-place occurrence in Ontario County.

         80.    Deputy Edington further stated under oath that she believed it was in her discretion

to either arrest without a warrant or to issue an appearance ticket.

         81 .   The county prosecutor confirmed in his oral argument to the court that arrests like

Mr. Laboy's are typical in Ontario County by saying:

                "There's no requirement and [defense counsel] hasn't identified any requirement, he
                cannot identify any requirement, that there be a warrant or information filed in
                court. In fact, that would be contrary to what we know happens on these
                harassment arrests every day in that they're arrested, they're either given appearance
                tickets or taken and arraigned and an order of protection before there's a filing.
                There's no requirement that any of that occur"

         82.    The county prosecutor further confirmed at sentencing that numerous top officials

within the sheriffs department had attended the trial in a show of support for the propriety of

Deputy Edington's actions:

                "(t]he support for Deputy Edington was apparent at every turn with her extended
                law enforcement family with her throughout this trial. At times Sheriff Povero,
                UndersheriffTillman, Lieutenant Falkey, Lieutenant Storer, Sergeant Colburn,
                Sergeant Cirencione, Deputies Dill, Bowerman, Fogarty, Nelson, Fitzgerald, Taylor
                and so many others were here to support her because they knew she was doing the
                right thing, and they knew she was doing it the right way"

         83.    Deputy Edington testified at trial against Mr. Laboy in support of the charged

offenses.



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          84.   Deputy Edington claimed at trial that Mr. Laboy had injured her while he was

resisting a lawful arrest.

          85.   Mr. Laboy retained Jason M. Housel, Esq., to defend him against the charges.

          86.   The matter ultimately proceeded to a jury trial in Ontario County.

          87.   At trial, there was no dispute that Deputy Edington went to Mr. Laboy's home with

the intention of arresting him for a violation-level offense.

          88.   There was also no dispute at trial that Deputy Edington arrested Mr. Laboy in his

home without a warrant.

          89.   However, with defense counsel's consent, the trial judge instructed the jurors that a

lawful arrest was simply one that took place within the arresting officer's geographical jurisdiction.

          90.   The jurors were not instructed at all regarding any other definition of a lawful

arrest.

          91.   The jurors were not informed that an officer could not arrest for a violation-level

offense that was not committed in her presence.

          92.   The jurors were not informed that an officer could not arrest a person in his home

without a duly issued warrant.

          93.   There was no debate at trial that Mr. Laboy had been arrested in Ontario County.

          94.   On February 18, 2011 , the jury convicted Mr. Laboy of all of the charges against

him.

          95.   On February 25, 2011, the trial judge sentenced Mr. Laboy to six years of

incarceration, plus three years of post-release supervision on the assault charge, together with

concurrent one year terms of incarceration on the remaining charges.



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        96.      Mr. Laboy appealed his conviction and argued that there was insufficient evidence

of the crimes against him because there was no proof that the arresting officers had engaged in a

lawful arrest.

        97.      On February 14, 2014, the Appellate Division, Fourth Department reversed Mr.

Laboy's conviction on the grounds oflegal insufficiency.

        98.      The Fourth Department held in relevant part that:

                 "We conclude that the evidence is legally insufficient to establish that the deputy's
                 arrest of defendant was lawful inasmuch as the deputy lacked reasonable cause to
                 believe that defendant committed an offense in her presence (see CPL 140.10[1]).
                 Because the arrest was not authorized at its inception, the evidence is legally
                 insufficient to support the conviction of assault, obstructing governmental
                 administration, and resisting arrest (see People v Perez, 47 AD3d 1192, 1192-1194),
                 and reversal is therefore required"

        99.      As a result of the Appellate Division's order, Mr. Laboy was released from state

prison on February 20, 2014, after having spent six months in the Ontario County Jail, followed by

three years in state prison.

        100.     While in prison he suffered various physical, mental, and emotional injuries, loss of

reputation, loss of income, and other monetary and non-monetary damages.




                                        IV. CLAIM FOR RELIEF

 (Violation of 42 USC§ 1983 -- Deliberately Indifferent Policies, Practices, Customs, Training, and
            Supervision in Violation of the Fourth, Fifth and Fourteenth Amendments)


        101 .    Plaintiff incorporates all of the foregoing allegations as if fully set forth herein.

        102.     Plaintiff brings this claim under 42 USC§ 1983 against the Defendant County.

        103.     The named defendants are persons for the purposes of 42 USC§ 1983.


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        104.    The named defendants to this claim were at all relevant times acting under the color

of state law.

        105.    At the time of the conduct complained of herein, plaintiff had clearly established

rights: (a) to be secure in his person from unreasonable seizure through excessive force under the

Fourth Amendment; (b) the right to bodily integrity and to be free from excessive force by law

enforcement under the Fourteenth Amendment; (c) the right to be prosecuted only upon an

indictment lawfully obtained under the Fifth Amendment; and (d) the right to be free from

malicious prosecution under the Fourth, Fifth, and Fourteenth Amendments.

        106.    Defendant County and Sheriff Provero knew or should have known of these rights

at the time of the complained of conduct as they were clearly established that that time.

        107.    The acts or omissions of these Defendants, as described herein, deprived plaintiff of

his constitutional and statutory rights and caused him other damages.

        108.    Defendants are not entitled to qualified immunity for the complained of conduct.

        109.    Defendant County and Sheriff Provero were, at all relevant times, policy makers for

the County and the Sheriffs Office, and in that capacity established policies, procedures, customs

and/ or practices for the same.

        110.    These defendants developed practices and maintained policies, procedures, customs,

and/ or practices exhibiting deliberate indifference to the constitutional rights of citizens, which

were moving forces behind and proximately caused the violations of plaintiffs constitutional and

federal rights as set forth here and in the other claims, resulted from a conscious or deliberate choice

to follow a course of action from among various available alternatives.




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        111.    Defendant County and Sheriff Provero have created and tolerated and developed

long-standing, department-wide customs, law enforcement related policies, procedures, customs,

practices and/ or failed to properly train and/ or supervise its officers in a manner amounting to

deliberate indifference to the constitutional rights of plaintiff and the public.

        112.    In light of the duties and responsibilities of those law enforcement officers who

participate in arrests and preparation of police reports of alleged crimes, the need for specialized

training and supervisions is so obvious, and the inadequacy of training and/ or supervision is so

likely to result in the violation of constitutional and federal rights such as those described herein

that the failure to provide such specialized training and supervision is deliberately indifferent to

those rights.

        113.    The deliberately indifferent training and supervision provided by Defendant County

and Sheriff Provero resulted from a conscious or deliberate choice to follow a course of action from

among various alternatives available to these defendants and were moving forces in the

constitutional and federal violation injuries complained of herein.

        114.    As a direct and proximate result of this unlawful conduct, Plaintiff has suffered

physical, psychological, and emotional injuries, and other damages and losses as described herein

entitling him to compensatory and special damages, in amounts to be determined at trial.

        115.    As a further result of the named defendants' unlawful conduct, plaintiff has incurred

special damages, including medically related expenses and may continue to incur further medical or

other special damages, in amounts to be established at a jury trial.




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        116.    The actions of each and all of the defendants described herein shock the conscience

of a reasonable person, and therefore an award of punitive damages is appropriate to punish the

defendants for their conduct.

        117.    As a result, the plaintiff should be granted an award of compensatory and punitive

damages in an amount to be determined at a jury trial of the issues raised herein.

        118.    Plaintiff is further entitled to attorney's fees and costs pursuant to 42 USC§ 1988,

pre-judgment interest and costs as allowable by federal law.




                                    V. REO UEST FOR RELIEF

        WHEREFORE, plaintiff prays that this Court enter judgment in his favor and against each

of the defendants and grant:

        (a) compensatory and consequential damages, including damages for emotional distress,

humiliation, loss of enjoyment of life, and other pain and suffering on all claims allowed by law in

an amount to be determined at trial;

        (b) economic losses on all claims allowed by law;

        (c) special damages in an amount to be determined at trial;

        (d) attorney's fees and costs associated with this action under 42 USC§ 1988, including

expert witness fees, on all claims allowed by law;

        (e) pre- and post-judgment interest at the lawful rate; and

        (f) any further relief that this Court deems just and proper, and any other appropriate relief

at law and equity.



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                          PLAINTIFF REQUESTS A TRIAL BY JURY.

Respectfully submitted this 7th day of August, 2018.



                                                       s/ David M. Abbatoy,Jr.

                                                       David M . Abbatoy,Jr., Esq.
                                                       THE ABBATOY LAW FIRM, PLLC
                                                       45 Exchange Blvd., Suite 925
                                                       Rochester, New York 14614
                                                       Tel: 585.348.8081
                                                       Email: dma@abbatoy.com




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